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 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)
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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
                                                                          CASE NUMBER:
R. Lance Hill                                                                             2:24-cv-01587-HDV-SSC
                                                          Plaintiff(s),
                                 v.

                                                                                         CERTIFICATION AND NOTICE
Metro-Goldwyn-Mayer Studios Inc., et al.
                                                                                           OF INTERESTED PARTIES
                                                         Defendant(s)                           (Local Rule 7.1-1)


TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for Defendants and Counterclaimants Metro-Goldwyn-Mayer Studios Inc., et al.
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
            (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                   PARTY                                                                     CONNECTION / INTEREST

      R. Lance Hill                                                              Plaintiff and Counterclaim Defendant
      Lady Amos Literary Works Ltd.                                              Third-Party Counterclaim Defendant
      Metro-Goldwyn-Mayer-Studios Inc. (“MGM”)                                   Defendant and Counterclaimant
      United Artist Pictures Inc. (“UA”)                                         Defendant and Counterclaimant
      MGM Holdings Inc.                                                          Parent of MGM and UA
      Amazon Studios LLC (“Amazon Studios”)                                      Defendant and Counterclaimant
      Amazon.com, Inc.                                                           Parent of MGM Holdings Inc. and Amazon
                                                                                 Studios

                                                       SHEPPARD MULLIN RICHTER & HAMPTON, LLP


         May 3, 2024                                   /s/Wook Hwang
         Date                                             Wook Hwang


                                                       Attorney of record for (or name of party appearing in pro per):

                                                       Defendants/Counterclaimants Metro-Goldwyn-Mayer Studios Inc., et al.
SMRH:4892-7743-4043.1
